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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
TAPESTRY, INC. COACH SERVICES, INC., and                               :
COACH IP HOLDINGS LLC,                                                 :
                                                                       :     20-CV-0271 (JMF)
                                    Plaintiffs,                        :
                                                                       :          ORDER
                  -v-                                                  :
                                                                       :
CHUNMA USA, INC. and DOES 1-10,                                        :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

JESSE M. FURMAN, United States District Judge:

        In light of the COVID-19 situation, the Court will hold the upcoming conference in this
case by telephone, not in person. Counsel should submit their proposed case management plan
and joint letter by the Thursday prior to the conference, as directed in the Court’s earlier
Scheduling Order. ECF No. 8. Because the Court may need to hold the telephone conference at
a different time than scheduled, counsel should indicate in their joint letter dates and times
during the week of the conference that they would be available for a telephone conference.
Counsel should also review and comply with the Court’s Emergency Individual Rules and
Practices in Light of COVID-19, available at https://nysd.uscourts.gov/hon-jesse-m-furman.

        SO ORDERED.

Dated: November 2, 2020                                    __________________________________
       New York, New York                                           JESSE M. FURMAN
                                                                  United States District Judge
